
41 So.3d 483 (2010)
In re Randy ZINNA.
No. 2010-B-1778.
Supreme Court of Louisiana.
July 29, 2010.

ORDER
Considering the Joint Petition for Interim Suspension filed by respondent, Randy Zinna, and the Office of Disciplinary Counsel,
IT IS ORDERED that Randy Zinna, Louisiana Bar Roll number 13801, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.3, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
FOR THE COURT:
/s/ Greg G. Guidry
Justice, Supreme Court of Louisiana
